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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

 SKATEMORE, INC., d/b/a ROLL HAVEN             Case No. 1:21-cv-00066
 SKATING CENTER, a Michigan
 corporation, et al.,                          HON. HALA Y. JARBOU

                                               MAG. SALLY J. BERENS
       Plaintiffs,

 v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, et al.,
 ,

      Defendants.

 David A. Kallman (P34200)                     Daniel Ping (P81482)
 Stephen P. Kallman (P75622)                   Darrin F. Fowler (P53464)
 Kallman Legal Group, PLLC                     Kyla L. Barranco (P81082)
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STIPULATED ORDER EXTENDING TIME TO FILE JOINT STATUS REPORT

      WHEREAS the parties were ordered to submit a Joint Status Report on or

before July 14, 2021 (ECF No. 25);

      WHEREAS this Court’s resolution of Defendants’ pending motion to dismiss

(ECF No. 14) may alter or obviate the contents of a Joint Status Report submitted

prior to that resolution;

      WHEREAS the parties consent and stipulate to extend the deadline to

submit a Joint Status Report as set forth below;
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      IT IS HEREBY ORDERED that the parties’ deadline to submit the Joint

Status Report shall be within fourteen days after this Court resolves Defendants’

pending motion to dismiss (ECF No. 14).

      IT IS SO ORDERED.

Dated: July ______, 2021                           ______________________________
                                                   Hon. Hala Y. Jarbou
                                                   U.S. District Court Judge


Approved as to form:


/s/ David A. Kallman (with consent)                /s/ Daniel Ping
David A. Kallman (P34200)                          Daniel Ping (P81482)
Attorney for Plaintiffs                            Attorney for Defendants




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